       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 1 of 30




                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA

-------------------------------------------------------------------- X

BEN-YISHAI, et al.,

                                  Plaintiffs,                            Case No:

                          -against-                                      18-cv-3150 (RCL)

THE SYRIAN ARAB REPUBLIC, et al,

                                  Defendants.

-------------------------------------------------------------------- X




                      PLAINTIFFS’ MEMORANDUM OF LAW IN
                 SUPPORT OF MOTION FOR JUDGMENT BY DEFAULT
           Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 2 of 30




                                                    TABLE OF CONTENTS



I.         Introduction ..........................................................................................................................2

II.        Legal Standards for Default Judgments Under the FSIA ....................................................3

           A.         Personal Jurisdiction ................................................................................................4

           B.         Subject Matter Jurisdiction ......................................................................................6

           C.         Statute of Limitations ...............................................................................................9

           D.         Satisfactory Evidence to Establish Plaintiffs’ Claims and Damages .....................11

                      i.         Pain and Suffering .....................................................................................14

                      ii.        Economic Damages ...................................................................................15

                      iii.       Solatium Damages .....................................................................................15

                      iv.        Punitive Damages ......................................................................................19

                      v.         Findings of Fact and Conclusions of Law .................................................20

III.       The Court May Refer the Assessment of Damages to a Special Master ...........................21

IV.        The Court Should Award Pre-Judgment Interest ...............................................................22

Conclusion .....................................................................................................................................22




                                                                       -i-
         Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 3 of 30




                                          TABLE OF AUTHORITIES

Cases

Acosta v. Islamic Rep. of Iran, 574 F. Supp. 2d 15 (D.D.C. 2008) ...................................12, 15, 20

Alejandre v. Rep. of Cuba, 996 F. 1239 (S.D. Fla. 1997) ..............................................................12

Anderson v. Islamic Rep. of Iran, 753 F. Supp. 2d 68 (D.D.C. 2010) ...........................................17

Antoine v. Atlas Turner, Inc., 66 F.3d 105 (6th Cir. 1995) ............................................................12

Asemani v. Islamic Rep. of Iran, 556 U.S. 1210 (2009) ................................................................10

Baker v. Socialist People’s Libyan Arab Jamahirya, 775 F. Supp. 2d 48 (D.D.C. 2011).14, 19, 20

Bank Markazi v. Peterson, 578 U.S. 212 (2016) ...........................................................................10

Beer v. Islamic Rep. of Iran, 798 F. Supp. 2d 14 (D.D.C. 2011) ...................................................20

Bodoff v. Islamic Rep. of Iran, 907 F. Supp. 2d 93 (D.D.C. 2012) .........................................19, 20

Braun v. Islamic Rep. of Iran, 228 F. Supp. 3d 64 (D.D.C. 2017) .............3, 4,6, 11, 12, 14, 15, 18

Brayton v. U.S. Trade Rep., 641 F. Supp. 3d 521 (D.C. Cir. 2011) ..............................................15

Brewer v. Islamic Rep. of Iran, 664 F. Supp. 2d 43 (D.D.C. 2009) ........................................4, 5, 6

Bundy v. Jackson, 641 F.2d 934 (D.C. Cir. 1981) .........................................................................11

Calderon-Cardona v. Democratic Rep. of Korea, 723 F. Supp. 2d 441 (D.P.R. 2010) ............6, 11

Campuzano v. Islamic Rep. of Iran, 281 F. Supp. 2d 258 (D.D.C. 2003) ...........................8, 12, 17

Cohen v. Iran, 268 F. Supp. 3d 19 (D.D.C. 2017) .........................................................................16

Cohen v. Islamic Rep. of Iran, 238 F. Supp. 3d 71 (D.D.C. 2017) ..................................................4

Cohen v. Islamic Rep. of Iran, 17-cv-01214 (D.D.C 2019) ................................................... passim

Commercial Bank of Kuwait v. Rafidain Banks, 15 F.3d 238 (2d Cir. 1994)................................12

Day v. McDonough, 547 U.S. 198, 205 (2006) ...............................................................................9

Edmond v. U.S. Postal Serv. Gen. Counsel, 949 F. Supp. 2d 415 (D.C. Cir. 1991)....................3, 4


                                                           -ii-
           Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 4 of 30




Elahi v. Islamic Rep. of Iran, 124 F. Supp. 2d 97 (D.D.C. 2000)............................................12, 14

Estate of Botvin ex rel. Ellis v. Islamic Rep. of Iran, 604 F. Supp. 2d 22 (D.D.C. 2009) .............11

Estate of Botvin v. Islamic Rep. of Iran, 510 F. Supp. 2d 101 (D.D.C. 2007)...............................12

Estate of Doe v. Islamic Rep. of Iran, 943 F. Supp. 2d 180 (D.D.C. 2013) ..................................22

Estate of Heiser v. Islamic Rep. of Iran, 659 F. Supp. 2d 30 (D.D.C. 2009) ................................20

Flatow v. Islamic Rep. of Iran, 999 F. Supp. 1 (D.D.C. 1998) ................................................12, 15

Forman v Korean Air Lines Co., 84 F3d 446 (D.C. Cir. 1996) .....................................................22

Fraenkel v. Islamic Rep. of Iran, 892 F. Supp. 3d 348 (D.C. Cir. 2018).................................15, 18

Force v. Islamic Rep. of Iran, et al., Case No. 16-cv-1468 (D.D.C. 2020) ........................... passim

Gates v. Syrian Arab Rep.; 580 F. Supp. 2d 53 (D.D.C. 2008) ...............................................12, 14

Gates v. Syrian Arab Rep.; 646 F. Supp. 3d 1 (D.C. Cir. 2011) ................................................6, 20

Gill v. Islamic Rep. of Iran, 249 F. Supp. 3d 88 (D.D.C. 2017) ....................................................18

Han Kim v. Democratic People’s Rep. of Korea, 774 F.3d 1004 (D.C. Cir. 2014) ................10, 11

Hekmati v. Iran, 278 F. Supp. 3d 145 (D.D.C. 2017) ....................................................................16

Hill v. Iraq, 328 F.3d 680 (D.C. Cir. 2003) ..............................................................................11,14

In re Islamic Rep. of Iran Terrorism Litig., 659 F. Supp. 2d 31, 43 & n.5 (D.D.C. 2009) .......... 10

James Madison Ltd by Hecht v. Ludwig, 82 F. Supp. 3d 1085 (D.C. Cir. 1996) ............................3

Jerez v. Rep. of Cuba, 775 F.3d 419 (D.C. Cir. 2014) ...................................................................11

Kaplan v. Central Bank of Islamic Rep. of Iran, 55 F. Supp. 3d 189 (D.D.C. 2014) ....................21

Kim v. Democratic People’s Rep. of Korea, 87 F. Supp. 3d 286 (D.D.C. 2105) ..........................14

Ministry of Defense & Support for the Armed Forces of Islamic Rep. of Iran v. Elahi, 556
U.S. 366 (2009) ............................................................................................................................. 10

Mohammadi v. Islamic Rep. of Iran, 782 F. Supp. 3d 9 (D.C. Cir. 2015) .......................................6




                                                                     -iii-
           Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 5 of 30




Moradi v. Iran, 77 F. Supp. 3d 57 (D.D.C. 2015) .........................................................................16

Murphy v. Islamic Rep. of Iran, 740 F. Supp. 2d 51 (D.D.C. 2010)..............................................18

Mwani v. Bin Laden, 417 F.3d 1 (DC. Cir. 2005)............................................................................3

Opati v. Rep. of Sudan, 60 F. Supp. 3d 68 (D.D.C. 2014) ............................................................22

Owens v. Rep. of Sudan, 864 F.3d 751, 801 (D.C. Cir. 2017) ........................................................ 9

Price v. Socialist People’s Libyan Arab Jamahiriya, 384 F. Supp. 2d 120 (D.D.C. 2005) ..........14

Reed v. Islamic Rep. of Iran, 845 F. Supp. 2d 204 (D.D.C. 2012) ..........................................15, 22

Rimkus v. Islamic Rep. of Iran, 750 F. Supp. 2d 163 (D.D.C. 2010) ............................................12

Roth v. Islamic Rep. of Iran, 78 F. Supp. 3d 379 (D.D.C. 2015) .............................................12, 13

Salazar v. Islamic Rep. of Iran, 370 F. Supp. 2d 105 (D.D.C. 2005) ............................................13

Salzman v. Islamic Rep. of Iran, 2019 U.S. Dist. LEXIS 163632, *8 (D.DC. 2019)……………13
Spaulding v. Islamic Rep. of Iran, No. 16-cv-1748, 2018 WL 3235556 at
*3 (N.D. Ohio July 2, 2018) ..........................................................................................................10

Spencer v. Islamic Rep. of Iran, 922 F. Supp. 2d 108 (D.D.C. 2013) ...........................................21

Spencer v. Islamic Rep. of Iran, 71 F. Supp. 3d 23 (D.D.C. 2014) ...............................................20

Stansell v. Republic of Cuba, 217 F. Supp. 3d 320 (D.D.C. 2016)................................................16

Stethem v. Islamic Rep. of Iran, 201 F. Supp. 2d 78 (D.D.C. 2002)........................................14, 15

Turley v. ISG Lackawanna, 774 F. 3d 140 (2d Cir. 2014) .............................................................15

Valore v. Islamic Rep. of Iran, 700 F. Supp. 2d 52 (D.D.C. 2010) ...........................................6, 20

Wachsman v. Islamic Rep. of Iran, 603 F. Supp. 2d 148 (D.D.C. 2009) .......................................12

Wamai v. Rep. of Sudan, 60 F. Supp. 3d 84 (D.D.C. 2014) ..........................................................21

Weinstein v. Islamic Rep. of Iran, 184 F. Supp. 2d 13 (D.D.C. 2002) ....................................12, 14

Worley v. Islamic Rep. of Iran, 75 F. Supp. 3d 311 (D.D.C. 2014)……….. ...........................11, 21

Worley v. Islamic Rep. of Iran, 177 F. Supp. 3d 283 (D.D.C. 2016) .............................................14


                                                                 -iv-
           Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 6 of 30




Wultz v. Islamic Rep. of Iran, 864 F. Supp. 2d 24 (D.D.C. 2012) .................................................14

Wyatt v. Syrian Arab Rep., 736 F. Supp. 2d 106 (D.D.C. 2010) .....................................................6

Wyatt v. Syrian Arab Rep., 908 F. Supp. 2d 216 (D.D.C. 2012) ...................................................20

Statutes

8 U.S.C. § 1101(a)(22) ...............................................................................................................7, 17

28 U.S.C. § 1330 ..............................................................................................................................4

28 U.S.C. § 1350 note ...................................................................................................................18

28 U.S.C. § 1602 ..............................................................................................................................2

28 U.S.C. § 1604 ..........................................................................................................................3, 4

28 U.S.C. § 1608 .................................................................................................................... passim

28 U.S.C. § 1605A ................................................................................................................. passim

18 U.S.C. 2339A .............................................................................................................................7

18 U.S.C. 2339A(b) ........................................................................................................................8

18 U.S.C. 2339(b)(1) ......................................................................................................................8

Fed. R. Civ. P. 4(j)(1) ......................................................................................................................4

Fed. R. Civ. P. 55(d) ......................................................................................................................11

Fed. R. Civ. P. 55(e) ......................................................................................................................11

Other Authority

U.S. Dep’t of State, State Sponsors of Terrorism, https://www.state.gov/j/ct/list/
       c14151.htm.........................................................................................................................17

Restatement (Second) of Torts § 908(1) (1977) ............................................................................20




                                                                     -v-
          Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 7 of 30




                       PLAINTIFFS’ MEMORANDUM OF LAW
               IN SUPPORT OF MOTION FOR JUDGMENT BY DEFAULT
       Plaintiffs respectfully submit this Memorandum in support of their Motion for Default

Judgment against the Syrian Arab Republic (“Syria”) and the Islamic Rep. of Iran (“Iran”)

pursuant to 28 U.S.C. § 1608(e); and their request to refer the assessment of damages to a special

master pursuant to 28 U.S.C. § 1605A(e).

       Also submitted in support of Plaintiff’s motion are the following documents:


                               Documents Unique to This Case

Dkt. 29        Declaration of Yael Ben-Yishai

Dkt. 30        Declaration of Jacob Ben-Yishai

Dkt. 31        Declaration of Chana Ben-Yishai

Dkt. 32        Declaration of Aviel Ben-Yishai

Dkt. 37        Declaration of Miriam Ben-Yishai

Dkt. 38        Declaration of Yitzhak Ben-Yishai

Dkt. 40        Declaration of Yisrael Ben-Yishai

Dkt. 42        Dr. Rael Strous’ Combined Expert Report regarding all plaintiffs

Dkt. 42        Dr. Rael Strous’ CV (Exhibit A)

Dkt. 42        Psychiatric Evaluation of Miriam Ben-Yishai (Exhibit E)

Dkt. 42        Psychiatric Evaluation of Yitzhak Ben-Yishai (Exhibit G)

Dkt. 42        Psychiatric Evaluation of Chana Ben-Yishai (Exhibit B)

Dkt. 42        Psychiatric Evaluation of Jacob Ben-Yishai (Exhibit D)

Dkt. 42        Psychiatric Evaluation of Aviel Ben-Yishai (Exhibit C)

Dkt. 42        Psychiatric Evaluation of Yisrael Ben-Yishai (Exhibit H)
          Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 8 of 30




Dkt.42         Declaration of Dr. Michael Soudry regarding economic losses.

Dkt. 43        Declaration of Dr. Marius Deeb

                             Evidence Previously Submitted in
                       Force v. Islamic Rep. of Iran, DDC 16-cv-01468

Dkt. 41        Declaration of Dr. Patrick Clawson (in that case Dkt. 32) (Exhibit A)

Dkt. 41        Declaration of Dr. Matthew Levitt (in that case Dkt. 31) (Exhibit B)

Dkt. 41        Declaration of Dr. Marius Deeb (in that case Dkt. 30) (Exhibit C)

Dkt. 41        Declaration of Colonel (ret.) Arieh Dan Spitzen (in that case Dkt. 33) (Exhibit D)

Dkt. 41        Transcript of testimony of Dr. Levitt and Colonel (ret.) Arieh Dan Spitzen (in that
               case Dkt. 104) (Exhibit E)

Dkt. 41        Transcript of testimony of Dr. Marius Deeb and Dr. Patrick Clawson (in that case
               Dkt. 105) (Exhibit F)


                             Evidence Previously Submitted in
                       Cohen v. Islamic Rep. of Iran, DDC 17-cv-01214

Dkt. 41        Declaration of Dr. Harel Chorev (in that case Dkt. 21, Exhibits 1-11) (Exhibit G)

Dkt. 41        Declaration of Dr. Patrick Clawson (in that case Dkt. 22) (Exhibit H)

Dkt. 41        Transcript of testimony of Plaintiffs, Dr. Chorev and Dr. Clawson (in that case
               Dkt. 49) (Exhibit I)

                                            I.
                                      INTRODUCTION
         This is a civil action brought pursuant to the Foreign Sovereign Immunities Act

(“FSIA”), 28 U.S.C. § 1602 et seq. Plaintiffs are the family of a U.S. national murdered in a

terror attack on November 4, 2001.

         On December 31, 2018, Plaintiffs filed a Complaint against Syria and Iran seeking

damages pursuant to 28 U.S.C. § 1605A for their provision of material support to the Palestinian



                                                -2-
        Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 9 of 30




Islamic Jihad (“PIJ”) that contributed to the terrorist attack at issue in this case. (Dkt. 1). On

December 4, 2020, the Court granted Plaintiffs’ motion to amend and correct the Complaint so

Plaintiffs could seek pre-judgment interest. (Dkt. 22).

       Service upon Defendants was perfected under § 1608(a), which governs service on

foreign states. Specifically, service upon Syria was attempted by DHL via 28 U.S.C.

§ 1608(a)(3) through delivery of the required documents (translated into Arabic) to its agent via

international courier service, evidenced by a return-receipt. (Dkt. 12, 14). Service upon Iran1 was

attempted by the international courier service DHL via 28 U.S.C. § 1608(a)(3) through delivery

of the required documents (translated into Farsi). (Dkt. 8, 9, 14). Subsequently, service via 28

U.S.C. § 1608(a)(4) through diplomatic channels on Syria and Iran was requested on January 28,

2020, and accomplished on August 10, 2020, on Syria and on August 19, 2020, on Iran. (Dkt. 13,

15). The diplomatic notes provide appropriate proof of service as to Syria and Iran. (Dkt. 16, 17).

Iran and Syria failed to appear or otherwise respond. On December 3, 2020, the Clerk noted the

default of Syria. (Dkt. 19). On February 21, 2021, the Clerk noted the default of Iran. (Dkt. 24).


                                 II.
        LEGAL STANDARDS FOR DEFAULT JUDGMENTS UNDER THE FSIA
       Entry of default judgments in FSIA terrorism cases is not automatic. Mwani v. Bin Laden,

417 F.3d 1, 6 (D.C. Cir. 2005); Braun v. Islamic Rep. of Iran, 228 F. Supp. 3d 64 (D.D.C. 2017);

James Madison Ltd by Hecht v. Ludwig, 82 F. Supp. 3d 1085, 1092 (D.C. Cir. 1996); Edmond v.

U.S. Postal Serv. Gen. Counsel, 949 F. Supp. 2d 415, 424 (D.C. Cir. 1991). Foreign sovereigns

are generally immune from suit in U.S. courts. 28 U.S.C. § 1604. The FSIA, however, provides


       1
        Although the Iranian Ministry of Information and Security (“MOIS”) was named as a
defendant, service on MOIS was not accomplished. Plaintiffs are not pursuing a claim against
MOIS.


                                                -3-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 10 of 30




narrow exceptions to this general rule. When the requirements of one of these exceptions are met

and the foreign state is properly served, the FSIA waives sovereign immunity and provides both

subject-matter jurisdiction over the action and personal jurisdiction over the foreign state. 28

U.S.C. § 1604; Cohen v. Islamic Rep. of Iran, 238 F. Supp. 3d 71, 80 (D.D.C. 2017); Braun, 228

F. Supp. 3d at 74.

       As such, in an FSIA case, a default judgment may only be entered when the Court is

satisfied that (1) it has subject matter jurisdiction over the claims, (2) personal jurisdiction is

properly exercised over the defendants, (3) the plaintiffs have presented satisfactory evidence to

establish their claims against the defendants, and (4) the plaintiffs have satisfactorily proven that

they are entitled to the monetary damages they seek. Id. at 74.

       Plaintiffs have satisfied all four requirements sufficient to establish their claims as well as

their damages against the defendants, thereby entitling them to a default judgment.


A.     Personal Jurisdiction

       While plaintiffs have the burden of proving personal jurisdiction, they “can satisfy that

burden with a prima facie showing.” Edmond, 949 F. Supp. 2d at 424. In doing so, “they may

rest their argument on their pleadings, bolstered by such affidavits and other written materials as

they can otherwise obtain.” Id.

       Federal statute grants district courts personal jurisdiction over foreign states wherever

“service has been made under section 1608 of [Title 28].” 28 U.S.C. § 1330(a); see also Fed. R.

Civ. P. 4(j)(1). Section 1608(a) prescribes several alternative methods to serve a foreign state in

decreasing order of preference. § 1608(a); see generally Brewer v. Islamic Rep. of Iran, 664 F.

Supp. 2d 43, 50-51 (D.D.C. 2009) (discussing service of process under § 1608 in an FSIA

terrorism case against a foreign state).


                                                 -4-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 11 of 30




       Service on Syria under § 1608(a)(1) and (a)(2) are impossible because no pertinent

“special arrangement” exists with Syria and no “international convention” is applicable as to

Syria. Plaintiffs complied with the requirements of §1608(a)(3) by attempting to serve Syria

copies of the Summons, Complaint, and Notice of Suit, along with a translation of each in Arabic

via DHL, using a form of mailing requiring a signed receipt but DHL is no longer providing mail

service to Syria. (Dkt. 12, 14). See § 1608(a)(3). Plaintiffs also complied with the requirements

of § 1608(a)(3) by attempting to serve Iran copies of the Summons, Complaint, and Notice of

Suit, along with a translation of each in Farsi via DHL, using a form of mailing requiring a

signed receipt but DHL is no longer providing mail service to Iran. (Dkt. 8, 9, 14). See

§ 1608(a)(3). As such, this court has personal jurisdiction over Syria and Iran. See Brewer, 664

F. Supp. 2d at 51. Similarly, Plaintiffs complied with the requirements of § 1608(a)(4) by

requesting the State Department effect service on Syria and Iran of the Summons, Complaint and

Notice of Suit, along with a translation of each in Arabic and Farsi, respectively, via diplomatic

means on January 20, 2020. (Dkt. 15). The Clerk mailed the relevant documents to the State

Department on August 9, 2020. (Dkt. 17). On August 19, 2020, the State Department informed

the clerk that the documents had been delivered to Iran. (Dkt. 16). As the State Department

advised, “[B]ecause the United States does not maintain diplomatic relations with the

Government of Iran,” the documents were transmitted to the embassy of Switzerland in Iran,

which then transmitted the materials to the Iranian Ministry of Foreign Affairs on August 19,

2020. (Dkt. 16). The Swiss Embassy reported that the Iranian Ministry of Foreign Affairs

“refused” to accept the documents that same day. (Dkt. 16) After the Islamic Rep. of Iran failed

to respond, the Clerk entered a default. (Dkt. 24). With respect to Syria, the State Department

advised, “[b]ecause the United States Embassy operations in the Syrian Arab Republic are




                                               -5-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 12 of 30




currently suspended,” the documents were transmitted to the Embassy of the Czech Republic in

Damascus, which then transmitted the materials to the Syrian Ministry of Foreign Affairs on

August 10, 2020. (Dkt. 17). The Embassy of the Czech Republic in Damascus reported that the

Syrian Ministry of Foreign Affairs “refused” to accept the documents that same day. (Dkt. 17)

After Syria failed to respond, the Clerk entered a default. (Dkt. 19). Accordingly, this court has

personal jurisdiction over Syria and Iran.


B.     Subject Matter Jurisdiction

       In 2008 Congress enacted a comprehensive terrorism exception to the FSIA that waived a

foreign state’s sovereign immunity and provided terrorism victims with a cause of action in cases

involving certain types of state sponsored terrorism. See Brewer, 664 F. Supp. 2d 43, 51 (D.D.C.

2009). This terrorism exception is now codified as 28 U.S.C. § 1605A and has previously been

applied to both Iran and Syria where numerous courts have found those countries have supported

terrorist attacks that harmed American nationals. See, e.g., Braun, 228 F. Supp. 3d 64; Valore v.

Islamic Rep. of Iran, 700 F. Supp. 2d 52 (D.D.C. 2010); Gates v. Syrian Arab Rep.; 646 F. Supp.

3d 1 (D.C. Cir. 2011); Wyatt v. Syrian Arab Rep., 736 F. Supp. 2d 106 (D.D.C. 2010). See also

Calderon-Cardona v. Dem. People’s of Korea, 723 F. Supp. 2d 441, 457 (D.P.R. 2010).

       Specifically, the terrorism exception-covering claims against designated state sponsors of

terrorism-provides that:

       A foreign state shall not be immune…[when] money damages are sought against
       a foreign state for personal injury or death that was caused by an act of torture,
       extrajudicial killing…or the provision of material support or resources for such an
       act if…engaged in by an official, employee, or agent of such foreign state while
       acting within the scope of his or her office, employment, or agency.




                                               -6-
        Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 13 of 30




28 U.S.C. § 1605A(a)(1); Brewer, 664 F. Supp. 2d at 50; Mohammadi v. Islamic Rep. of Iran,

782 F. Supp. 3d 9, 13 (D.C. Cir. 2015).

        The FSIA also creates a “private right of action” for U.S. nationals.2 28 U.S.C.

§ 1605A(c). In actions brought under § 1605A(c), American nationals harmed by state-sponsored

terrorism may seek “money damages” including economic damages, solatium, pain, and

suffering, and punitive damages.” Id.

        First, both Iran and Syria “were designated as a state sponsor of terrorisms at the time of

the act” that caused Plaintiffs’ harm. Section 1605A(h)(6) defines a “state sponsor of terrorism”

as “a country the government of which the Secretary of State has determined, for purposes of

section 6(j) of the Export Administration Act of 1979 (50 App. U.S.C. 2405(j))…is a

government that has repeatedly provided support for acts of international terrorism.” Iran has

been so designated continuously since 1984 and Syria has been so designated continuously since

1979.

        Second, the victim, decedent Shoshana Ben-Yishai, was an American national at the time

of the attack. The victim via her estate and family members who are U.S. nationals, are seeking

money damages for the death of their beloved family member Shoshana arising from the terrorist

attack that was committed by the PIJ, and materially supported by Syria and Iran.

        Third, FSIA § 1605A(H)(3) defines “material support or resources” as having the same

meaning as in 18 U.S.C. 2339A. The latter statutes define “material support or resources”

broadly to include:

        any property, tangible or intangible, or service, including currency or monetary
        instruments or financial securities, financial services, lodging, training, expert


        “National” is defined as “the meaning given that term in section 101(a)(22) of the
        2


Immigration and Nationality Act (8 U.S.C. § 1101(a)(22))” 28 U.S.C. § 1605A(h)(5).


                                                -7-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 14 of 30




       advice or assistance, safe houses, false documentation or identification,
       communications equipment, facilities, weapons, lethal substances, explosives,
       personnel (one or more individuals who may be or include oneself), and
       transportation, except medicine or religious materials.

§ 2339(b)(1). It further defines “training” as “instruction or teaching designed to impart a

specific skill, as opposed to general knowledge” and defines “expert advice or assistance” as

“advice or assistance derived from scientific, technical or other specialized knowledge.”

§ 2339A(b). The allegations in Plaintiffs’ Complaint and the evidence presented by Plaintiffs

leaves no doubt that Syria and Iran provided material support to the terrorist PIJ. Among other

things, Syria and Iran provided the PIJ with funding assistance. See declaration of Plaintiffs’

liability expert, Dr. Marius Deeb (Dkt. 43). See also Force v. The Islamic Rep. of Iran, et al.,

Case No. 16-cv-1468, Dkt. 29-32, 33, 54, 107, for the expert declarations and testimony of

Colonel (ret.) Aryeh Spitzen, Dr. Marius Deeb, Dr. Matthew Levitt and Dr. Patrick Clawson in

that case and Cohen v. The Islamic Rep. of Iran, et al., Case No. 17-cv-01214, Dkt. 21, 21-1-21-

11, 22, 49, 104, 105, for the expert declarations and testimony of Dr. Harel Chorev and Dr.

Clawson.

       Fourth, Congress specifically permitted actions for “personal injury…that was caused by

an act of…extrajudicial killing.” § 1605A(a)(1) (emphasis added). Shoshana Ben-Yishai’s

violent murder was indeed caused by “an act of…extrajudicial killing” within the meaning of 28

U.S.C. § 1605(A)(a)(1) as that term is defined by § 1605A(h)(7), which adopts the definition of

extrajudicial killing contained in the Torture Victims Protection Act (“TVPA”) (codified as a

note to 28 U.S.C. § 1350). The TVPA defines “extrajudicial killings” as ‘a deliberated killing not

authorized by a previous judgment pronounced by a regularly constituted court affording all

judicial guarantees which are recognized as indispensable by civilized peoples.” Thus,

§ 1605A(a)(1) does not require that the plaintiff be killed or that injury to a plaintiff result from


                                                 -8-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 15 of 30




the actual “extrajudicial killing” (e.g., that a bullet pass through and kill one person and strike

and injure another) but rather from an “act of extrajudicial killing”. See Campuzano v. The

Islamic Rep. of Iran, 281 F. Supp. 2d 258, 270-71 (D.D.C. 2003) (holding that injuries suffered

by plaintiffs who were injured in a bombing in which non-plaintiffs were killed were caused by

an act of extrajudicial killing within the meaning of FSIA § 1605(a)(7)). Thus, where a terrorist

commits an act that could kill but winds up merely injuring the victim, the terrorist has

nevertheless committed an “act of extrajudicial killing,” and the victim can recover for “personal

injury” under § 1605A(a)(1).

       Fifth, as required by § 1605A(a)(1) and (c), all the Plaintiffs’ claims arise from a personal

injury or death. The damages they may seek include “economic damages, solatium, pain and

suffering, and punitive damages.” § 1605A(c). In addition, Plaintiffs may raise claims for related

“foreseeable property loss, whether insured or uninsured, third-party liability, and loss claims

under life and property insurance policies.” § 1605A(d).

       Therefore, this Court has jurisdiction over, and Defendants are not immune from, this

action.3


C.     Statute of Limitations

       The statute of limitations does not bar this action. The 10-year statute of limitations “is

not jurisdictional” and is an affirmative defense waived by the Defendants’ default. Owens v.

Rep. of Sudan, 864 F.3d 751, 801, 804 (D.C. Cir. 2017) (“Sudan has forfeited its affirmative

defense [regarding the statute of limitations] by failing to raise it in the district court.”). Because

§ 1605A’s statute of limitations defense is not jurisdictional, “courts are under no obligation to


       3
         Because the attack did not occur within the Iranian or Syrian territory, Plaintiffs are not
required to offer Defendants an opportunity to arbitrate. See 28 U.S.C. § 1605A(a)(A)(iii).


                                                 -9-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 16 of 30




raise the time bar sua sponte.” Day v. McDonough, 547 U.S. 198, 205 (2006) (emphasis

removed).

       Iran “has never appeared [on the merits] in any FSIA terrorism action to date,” but has

occasionally appeared at the enforcement stage to prevent the attachment of its assets. In re

Islamic Rep. of Iran Terrorism Litig., 659 F. Supp. 2d 31, 43 & n.5 (D.D.C. 2009). Iran’s failure

to appear before this Court is not due to ignorance of the U.S. legal system or lack of knowledge

about this litigation. Iran is a highly experienced consumer of U.S. legal services and has a

strong track record in U.S. courts.4 Iran’s absence in this litigation is a calculated decision.

Cognizant that “[j]ustice requires accountability for Iran,” In re Islamic Rep. of Iran Terrorism

Litig., 659 F. Supp. 2d at 134, the world’s premier exporter of terrorism, this Court should seek

to do it no favors. Courts must be mindful that Congress enacted § 1605A, FSIA’s terrorism

exception, and § 1608(e) with the “aim to prevent state sponsors of terrorism—entities

particularly unlikely to submit to this country’s laws—from escaping liability for their sins.” Han

Kim v. Democratic People’s Rep. of Korea, 774 F.3d 1004, 1047-48 (D.C. Cir. 2014) (quoting

28 U.S.C. § 1608(e)). If Iran wanted to appear before this Court and raise the statute of

limitations, it could have done so. If it still wants to appear and assert that defense, nothing is

stopping it from moving to vacate its default. Iran does not do so because it does not care about

its liability to the Plaintiffs, nor does it accept any recognition of the laws of the United States.

Moreover, it pays no concern to the lives of innocent people around the world or the sovereignty

of the nations in which they reside. Plaintiffs seek to hold it accountable for its atrocities. This

       4
         Iran litigates in U.S. courts when it suits Iran’s purposes. See, e.g., Islamic Rep. of Iran
v. Pahlavi, 62 N.Y.2d 474 (NY 1984); Ministry of Defense & Support for the Armed Forces of
Islamic Rep. of Iran v. Elahi, 556 U.S. 366 (2009); Bank Markazi v. Peterson, 578 U.S. 212
(2016) (involving bank owned by government of Iran); Asemani v. Islamic Rep. of Iran, 556 U.S.
1210 (2009) (denying Iran’s petition for writ of certiorari).


                                                -10-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 17 of 30




Court is under no obligation to run to Iran’s rescue and should not do so. Spaulding v. Islamic

Rep. of Iran, No. 16-cv-1748, 2018 WL 3235556 at *3 (N.D. Ohio July 2, 2018). Quite to the

contrary: It should detest the thought of doing so.


D.     Satisfactory Evidence to Establish Plaintiffs’ Claims and Damages

       The FSIA requires that a default judgment against a foreign state be entered only after a

plaintiff “establishes his claim or right to relief by evidence that is satisfactory to the Court.” 28

U.S.C. § 1608(e). This has been interpreted to impose the same standard for entry of default

judgments against the U.S. government as set forth in Fed. R. Civ. P. 55(d) (previously Rule

55(e)).5 While the “FSIA leaves it to the court to determine precisely how much and what kinds

of evidence the plaintiff must provide, requiring only that it be ‘satisfactory to the court,’” courts

must be mindful that Congress enacted § 1605A, FSIA’ with the “aim[ ] to prevent state

sponsors of terrorism-entities particularly unlikely to submit to this country’s laws-from escaping

liability for their sins.” Han Kim, 774 F.3d at 1047-48 (quoting 28 U.S.C. 1608(e)). With this

objective in mind, the D.C. Circuit has instructed that “courts have the authority-indeed, we

think, the obligation-to ‘adjust [evidentiary requirements] to…differing situations.’” Braun, 228

F. Supp. 3d at 64 (quoting Bundy v. Jackson, 641 F.2d 934, 951 (D.C. Cir. 1981)); Hill v. Iraq,

328 F.3d 680, 684-85 (D.C. Cir. 2003).

       Therefore, although the Court may not simply accept a complaint’s unsupported

allegations as true, it may-and perhaps must, see Hill, 328 F. Supp. 3d at 684-85, “rely upon


       5
          Jerez v. Rep. of Cuba, 775 F.3d 419, 423 (D.C. Cir. 2014); see also H.R. REP. No. 94-
1487, at 26 (1976) (stating that § 1608(e) establishes “the same requirement applicable to default
judgments against the U.S. government under rule 55(e), F.R. Civ. P.”); Estate of Botvin ex rel.
Ellis v. Islamic Rep. of Iran, 604 F. Supp. 2d 22, 26 (D.D.C. 2009); Calderon-Cardona, 723 F.
Supp. 2d 441, 444 (D.P.R. 2010).


                                                -11-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 18 of 30




unconverted factual allegations that are supported by affidavits.” Worley v. Islamic Rep. of Iran,

75 F. Supp. 3d 311, 319 (D.D.C. 2014); Braun, 228 F. Supp. 3d at 64; Acosta v. Islamic Rep. of

Iran, 574 F. Supp. 2d 15 (D.D.C. 2008); Roth v. Islamic Rep. of Iran, 78 F. Supp. 3d 379, 386

(D.D.C. 2015) (“Courts may rely on uncontroverted factual allegations that are supported by

affidavits.”) (citing Rimkus v. Islamic Rep. of Iran, 750 F. Supp. 2d 163, 171 (D.D.C. 2010));

Gates v. Syrian Arab Rep., 580 F. Supp. 2d 53, 63 (D.D.C. 2008) (quoting Estate of Botvin v.

Islamic Rep. of Iran, 510 F. Supp. 2d 101, 103 (D.D.C. 2007)); aff’d, 646 F.3d 1 (D.D.C. 2011);

Elahi v. Islamic Rep. of Iran, 124 F. Supp. 2d 97, 100 (D.D.C. 2000) (citing Alejandre v. Rep. of

Cuba, 996 F. 1239, 1243 (S.D. Fla. 1997)), see also Flatow v. Islamic Rep. of Iran, 999 F. Supp.

1 (D.D.C. 1998). Plaintiffs are therefore entitled to establish their proof in FSIA default

judgment proceedings via affidavits and expert reports. Wachsman v. Islamic Rep. of Iran, 603 F.

Supp. 2d 148 (D.D.C. 2009), Campuzano, 281 F. Supp. 2d at 268.

       Plaintiffs note that the FSIA does not require evidentiary hearings nor any explicit

findings “where the record shows that the plaintiffs provided sufficient evidence in support in

support of its claims.” Commercial Bank of Kuwait v. Rafidain Banks, 15 F.3d 238, 242 (2d Cir.

1994); see also Kim, 774 F. Supp. 3d at 105-51 (relying on affidavits in reversing and remanding

for District Court to enter a default judgment without an evidentiary hearing); Antoine v. Atlas

Turner, Inc., 66 F.3d 105, 111 (6th Cir. 1995) (“Use of affidavits in granting default judgments

does not violate either due process or the FSIA”). In the instant case, Plaintiffs submit they have

fully supported their motion with the sworn expert declaration from Dr. Marius Deeb regarding

Syria’s material support of the terrorist PIJ. (Dkt. 43).6 Plaintiffs also rely upon the expert


       6
           Although prior decisions in this district “have…frequently taken judicial notice of
earlier, related proceedings,” Rimkus v. Islamic Rep. of Iran, 750 F. Supp. 2d 163, 171 (D.D.C.
2010), that does not mean that the Court should simply accept the facts found in the earlier


                                               -12-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 19 of 30




declarations and testimony of Dr. Patrick Clawson and Dr. Matthew Levitt regarding Iran’s

provision of material support to the PIJ and Dr. Marius Deeb regarding Syria’s provision of

material support to the PIJ, as well as Colonel (ret.) Arieh Dan Spitzen’s expert declaration and

testimony regarding the PIJ and Iran and Syria’s material support of the PIJ. See Force v. The

Islamic Rep. of Iran, et al., Case No. 16-cv-1468 (DDC), Dkt. 29-33, 104-105.

       Plaintiffs further rely upon the expert declaration and testimony of Dr. Harel Chorev

regarding the PIJ’s responsibility for the attack in this case and Dr. Clawson’s expert declaration,

as well as his testimony, regarding Iran’s material support to the PIJ. See Cohen v. The Islamic

Rep. of Iran, et al., Case No. 17-cv-01214 (DDC), Dkt. 21, 21-1-21-11, 22, 49. Besides the

above, Plaintiffs have submitted sworn declarations regarding the attack, an economist regarding

Shoshana’s estate’s economic damages and a psychiatric expert report regarding each Plaintiff’s

psychological and emotional damages. (Dkt. 29-32, 37-40; Dkt. 42, Exhibits B-H).

       In creating a private right of action for victims of state-sponsored terrorism, Congress

also provided that such foreign states are liable for money damages including “economic

damages, solatium, pain and suffering, and punitive damages.” 28 U.S.C. 1605A(c). “To obtain

damages against a non-immune foreign state under the FSIA, a plaintiff must provide that the

consequences of the foreign state’s conduct were reasonably certain (i.e., more likely than not) to

occur, and must prove the amount of damages by a reasonable estimate consistent with this

[Circuit]’s application of the American rule on damages.” Roth, 78 F. Supp. 3d at 402 (quoting



opinion, which would amount to an exercise of collateral estoppel. See Weinstein v. Islamic Rep.
of Iran, 175 F. Supp. 2d 13, 20 (D.D.C. 2001) (“[F]indings of fact made during this type of one-
sided [FSIA] hearing should not be given a preclusive effect.”) The Court may, however,
“review evidence considered in” the prior proceeding “without necessitating the re-presentment
of such evidence.” Murphy v. Islamic Rep. of Iran, 740 F. Supp. 2d 51, 59 (D.D.C. 2010). See
Salzman v. Islamic Rep. of Iran, 2019 U.S. Dist. LEXIS 163632, *8 (D.DC. 2019).


                                               -13-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 20 of 30




Salazar v. Islamic Rep. of Iran, 370 F. Supp. 2d 105, 115-16 (D.D.C. 2005)) (internal quotation

marks omitted and alteration in original); see also Kim v. Democratic People’s Rep. of Korea, 87

F. Supp. 3d 286, 289 (D.D.C. 2015) (quoting Hill, 328 F.3d 680, 681 (D.C. Cir. 2003)).


i.     Pain and Suffering

       Claims “for the conscious pain and suffering” inflicted on victims of terrorism are

“actionable through their estates.” Gates, 580 F. Supp. 2d 53, 72 (D.D.C. 2008). While “[p]utting

a number on these kinds of harms can be difficult,” Price v. Socialist People’s Libyan Arab

Jamahiriya, 384 F. Supp. 2d 120, 134 (D.D.C. 2005), courts “will not simply award what it

abstractly finds to be fair.” Weinstein v. Islamic Rep. of Iran, 184 F. Supp. 2d 13, 34 (D.D.C.

2002). Rather, they “will look at damage awards for pain and suffering in other cases brought

under the FSIA.” Id.

       Whenever a victim suffers an injury that did not cause instant death and the victim was

conscious for at least some period thereafter, s/he is entitled to damages for pain and suffering.

Worley v. Islamic Rep. of Iran, 177 F. Supp. 3d 283, 286 (D.D.C. 2016). Where the pain and

suffering lasted a few hours or less, the victim is entitled to $1 million. Baker v. Libyan Arab

Jamahirya, 775 F. Supp. 2d 48, 81 (D.D.C. 2011); Wultz v. Islamic Rep. of Iran, 864 F. Supp. 2d

24, 37-38 (D.D.C. 2012); Braun, 228 F.Supp.3d at 83; Stethem v. Islamic Rep. of Iran, 201 F.

Supp. 2d 78, 89 (D.D.C. 2002) (awarding $1,000,000 for the several minutes after victim was

shot and before he died); Elahi, 124 F. Supp. 2d 97 (D.D.C. 2000) ($1 million for three or four

minutes of pain and suffering).




                                              -14-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 21 of 30




ii.    Economic Damages

       28 U.S.C. § 1605A entitles victims of state-sponsored terrorism to economic damages.

For the most part, the calculation of economic damages is straight-forward and requires only

proof of loss. Such damages are generally calculated in FSIA terrorism cases by estimating a

decedent’s future earning potential based on the individual’s work and education and adjusting

that amount to account for inflation, rise in productivity, job advancement, and personal

consumption. Stethem, 201 F. Supp. 2d at 87.


iii.   Solatium Damages

       Title 28 U.S.C. § 1605A(c) allows for an award of solatium damages to close relatives of

victims of terrorism. Solatium damages are intended to compensate the immediate relatives of an

injured party at least partially for their mental anguish and the loss of the “comfort and society”

previously provided by the injured party. Fraenkel v. Islamic Rep. of Iran, 892 F. Supp. 3d 348,

356-57 (D.C. Cir. 2018); Flatow, 999 F. Supp. 1, 31 (D.D.C. 1998). “Solatium damages, by their

very nature, are unquantifiable.” Braun, 228 F. Supp. 3d at 85 (internal quotation marks

omitted). As such, assessing a monetary figure to the multiple layers of harm that a terror victim

or the family of a terror victim suffers is extremely difficult. In determining the “reasonable

estimate,” courts may look to expert testimony and prior awards in the many scores of civil

terrorism decisions rendered pursuant to the FSIA. See Reed v. Islamic Rep. of Iran, 845 F. Supp.

2d 204, 214 (D.D.C. 2012); Acosta, 574 F. Supp. 2d 15, 29 (D.D.C. 2008). Indeed, because

“[t]here is no objective way to assign any particular dollar value” to these injuries, the courts’

primary obligation is “to ensure that such awards for intangibles be fair, reasonable, predictable,

and proportionate.” Turley v. ISG Lackawanna, 774 F. 3d 140, 162 (2d Cir. 2014); cf. also

Brayton v. U.S. Trade Rep., 641 F. Supp. 3d 521, 526 (D.C. Cir. 2011) (holding that treating like


                                               -15-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 22 of 30




cases alike is “a necessary condition” for avoiding “arbitrary” use of judicial discretion).

Accordingly, the monetary judgments entered in this district in FSIA terrorism cases demonstrate

an exceptionally broad consensus linking the amount of a judgment to the nature of the familial

relationship between the claimant and the deceased. See Moradi v. Iran, 77 F. Supp. 3d 57, 72

(D.D.C. 2015); see also Cohen v. Iran, 268 F. Supp. 3d 19, 24 (D.D.C. 2017) (“In the interests of

fairness…courts try to maintain consistency of awards…among plaintiffs in comparable

situations.”); Hekmati v. Iran, 278 F. Supp. 3d 145, 163 (D.D.C. 2017) (consistency is a

“primary consideration”); Stansell v. Republic of Cuba, 217 F. Supp. 3d 320, 345 (D.D.C. 2016).

       The FSIA grants to any national of the United States a claim for loss of solatium due to

an act of terrorism involving personal injury against any foreign state “that is or was a state

sponsor of terrorism” at the time of the underlying act of terrorism, provided that the act of

terrorism involved “torture, extrajudicial killing,...or the provision of material support or

resources for such an act.” § 1605A(a)(2)(A)(i) and (c). The elements that must be demonstrated

are: the claim must be 1) by a U.S. national, 2) for money damages,7 3) the claim must be against

a foreign state, 4) that was designated as the state sponsor of terrorism at the time of the attack or

within six months thereafter,8 5) the underlying injury suffered must be “personal injury or

death,”9 and that personal injury or death must be 6) caused by 7) “an act of torture, extrajudicial

killing, aircraft sabotage, hostage taking, or the provision of material support or resources” by

“an official, employee, or agent of such foreign state while acting within the scope of his or her




       7
           28 U.S.C. § 1605A(a)(1).
       8
           28 U.S.C. § 1605A(a)(2)(A)(i)(I).
       9
           28 U.S.C. § 1605A(c).


                                                -16-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 23 of 30




office, employment, or agency.”10 See Anderson v. Islamic Rep. of Iran, 753 F. Supp. 2d 68, 79,

84 (D.D.C. 2010).

        The substantive elements are all easily satisfied here as to all Plaintiffs:

        The FISA defines “national of the United States” to include a U.S. citizen.

§ 1605A(5)(h); 8 U.S.C. § 1101(a)(22). The Plaintiffs are all U.S. citizens today, as is

demonstrated by their passports or certificates of citizenship, annexed hereto, and are thus all

U.S. nationals. (Dkt. 35, Exhibits 1-7). Similarly, they were all U.S. nationals at the time of the

decedent’s terrorist murder in November 2001.

        This is a claim for money damages, as is evident on the face of the complaint and as

explained further infra.

        This is a claim against Syria and Iran, which are foreign states or subdivisions of a

foreign state.

        Syria and Iran are and were, at all pertinent times, designated state sponsors of terrorism

as that term is defined by § 1605A(h)(6). See U.S. Dep’t of State, State Sponsors of Terrorism,

https://www.state.gov/j/ct/list/c14151.htm; Campuzano, 281 F. Supp. 2d at 270.

        The terror victim suffered serious and permanent bodily injury and/or emotional

damages.

        The injuries were plainly caused by the PJI’s terrorism and Syria’s and Iran’s material

support thereof. Id. at 261-62, 269-70 (“[T]he court determines that the bombing was an act of

extrajudicial killing that caused the plaintiffs’ injuries.”).

        The term “extrajudicial killing,” both when Campuzano was decided in 2003 and now,

means “a deliberated killing not authorized by a previous judgment pronounced by a regularly


        10
             28 U.S.C. § 1605A(a)(1).


                                                  -17-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 24 of 30




constituted court affording all the judicial guarantees which are recognized as indispensable by

civilized peoples.” 28 U.S.C. § 1350 note; 28 U.S.C. § 1605A(h)(7); 28 U.S.C. § 1605(e)(1)

(2002). The terror attack here at issue, constitute “extrajudicial killing.” Id. at 270.11 Further, the

terror attack was enabled and were conducted only but-for Syria’s and Iran’s “provision of

material support or resources” id. at 262, thus subjecting Syria and Iran to liability for that

additional reason. See also Fraenkel, 248 F. Supp. 3d 21, 37-38 (D.C. Cir. 2017); Braun, 228 F.

Supp. 3d at 64.

       Many of these elements are plainly established by the documentary evidence submitted

herewith. The elements in this claim not independently resolved by the Plaintiffs’ documentary

evidence have been found met by another court in this district, reviewing precisely the same

terror attack asserted against precisely one of the same Defendants, pursuant to clear and

convincing evidence. This Court may rely on the evidence produced in Cohen, without requiring

the Plaintiffs here to re-submit and re-establish that same evidence, to reach its own findings as

to those elements that Cohen found to be demonstrated with clear and convincing evidence.

Cohen v. Islamic Rep. of Iran, Dkt. 42, 17-cv-01214 (D.D.C. 2019).

       Because Syria and Iran have defaulted and Plaintiffs’ claims remain undisputed,

Plaintiffs’ respectfully submit that upon considering the evidence submitted in Force and Cohen,

the Plaintiffs have plainly submitted satisfactory evidence as to each of their claims. Further, the

Court should review and take judicial notice of the evidence admitted and relied upon in the

Force and Cohen cases with respect to Syria’s and Iran’s material support to the PIJ without



       11
            Indeed, a terror attack constitutes an “extrajudicial killing” even if no one died in the
attack. That is because the term “extrajudicial killing,” as it is defined by 28 U.S.C.
§ 1605A(h)(7); 28 U.S.C. § 1350 note, encompasses even “attempted extrajudicial killing[s].”
Gill v. Islamic Rep. of Iran, 249 F. Supp. 3d 88, 98-99 (D.D.C. 2017).


                                                 -18-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 25 of 30




Plaintiffs having to present such evidence again. See Murphy v. Islamic Rep. of Iran , 740 F.

Supp. 2d 51, 59 (D.D.C. 2010). In Cohen v. Islamic Rep. of Iran, 17-cv-01214 (D.D.C 2019),

plaintiffs sued Iran seeking to recover for their damages against Iran, which was alleged to have

sponsored the terror attack. On July 11, 2019, Judge James E. Boasberg entered judgment on

their behalf. The Court found that 1) the PIJ was responsible for the November 4, 2001, terrorist

attack in Jerusalem, 2) the Court had jurisdiction over Iran, and 3) that Iran provided material

support to the PIJ. Id. at pages 4-5, 8-9. The Court also found that the Cohen plaintiffs had

presented the necessary threshold of evidence to establish Iran’s liability under the FSIA. Id. The

Court entered judgment for compensatory damages for the plaintiffs. Id. at 22.

       Plaintiffs have submitted compelling evidence of an extremely close relationship with the

deceased victim, as well as their acute suffering due to the circumstances surrounding the attack

that continue to cause them pain, grief, suffering, and psychological and emotional trauma.


iv.    Punitive Damages

       The Plaintiffs also seek punitive damages, which are awarded not to compensate the

victims, but to “punish outrageous behavior and deter such outrageous conduct in the future.”

Kim, 87 F. Supp. 3d at 290 (quoting Bodoff v. Islamic Rep. of Iran, 907 F. Supp. 2d 93, 105

(D.D.C. 2012) (internal quotation marks omitted)); see also Restatement (Second) of Torts

§ 908(1) (1977). Punitive damages are warranted where “defendants supported, protected,

harbored, aided, abetted, enabled, sponsored, conspired with, and subsidized a known terrorist

organization whose modus operandi included the targeting, brutalization, and murder of

American citizens and others.” Baker, 775 F. Supp. 2d, 48, 85 (D.D.C. 2011). The Defendants’

conduct in supporting the terrorist PIJ justifies the imposition of punitive damages here.




                                               -19-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 26 of 30




       In determining the appropriate amount of punitive damages, courts consider “(1) the

character of the defendants’ act, (2) the nature and extent of harm to the plaintiffs that the

defendants caused or intended to cause, (3) the need for deterrence, and (4) the wealth of the

defendants.” Wultz, 864 F. Supp. 2d at 41 (quoting Acosta, 574 F. Supp. 2d at 30); Bodoff, 907 F.

Supp. 2d at 105; see also Restatement (Second) Torts § 908(1)-(2) (1977). Several approaches

have been articulated for calculation of the appropriate amount of punitive damages in state-

sponsored terrorism cases. One approach is to multiple the foreign state’s “annual expenditures

on terrorism” by a factor between three and five. See Baker, 775 F. Supp. 2d at 85 (citing Valore,

700 F. Supp. 2d at 88-90; Estate of Heiser v. Islamic Rep. of Iran, 659 F. Supp. 2d 30, 31

(D.D.C. 2009); Acosta, 574 F. Supp. 2d at 31; Beer v. Islamic Rep. of Iran, 798 F. Supp. 2d 14,

26 (D.D.C. 2011). This approach, which may result in awards in the billions of dollars, has been

used in the case of exceptionally deadly attacks, such as the 1983 bombing of the Marine

barracks in Beirut, which killed 241 American military servicemen. See Baker, 775 F. Supp. 2d

at 85. Other courts award punitive damages based on a ratio between punitive and compensatory

damages, see, e.g., Spencer v. Islamic Rep. of Iran, 71 F. Supp. 3d 23, 31 (D.D.C. 2014).

Another approach awards a fixed amount of $150 million per affected family. See Wyatt v.

Syrian Arab Rep., 908 F. Supp. 2d 216, 233 (D.D.C. 2012) (awarding $300 million in total to

two victims and their families); Baker, 775 F. Supp. 2d at 86 (awarding $150 million each to

families of three deceased victims); Gates, 580 F. Supp. 2d at 75 (awarding $150 million each to

the estates of two victims).

       Plaintiffs submit that the Defendants’ conduct here supporting terrorism, as outrageous as

it is, more closely resembles the conduct in cases awarding $150 million per family rather than

the cases in which a multiple of a foreign state’s entire sponsorship of terrorism is used.




                                                -20-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 27 of 30




v.     Findings of Fact and Conclusions of Law

       Plaintiffs are submitting a separate document entitled Proposed Findings of Fact and

Conclusions of Law in which the Plaintiffs propose amounts of damages awards for each

Plaintiff and on each claim. Plaintiffs respectfully ask that judgment be entered in Plaintiffs’

favor for amounts requested in that Proposed Findings of Fact and Conclusions of Law.


                                      III.
                      THE COURT MAY REFER THE ASSESSMENT
                        OF DAMAGES TO A SPECIAL MASTER
       FSIA Section § 1605A authorizes courts to “appoint special masters to hear damage

claims brought under this section.” 28 U.S.C. § 1605A. Therefore, it has become commonplace

for courts to address liability first and, upon a finding of liability, refer the case to a special

master for findings as to damages. See, e.g., Kaplan v. Central Bank of the Islamic Rep. of Iran,

55 F. Supp. 189, 3d 200 (D.D.C. 2014); Wamai v. Rep. of Sudan, 60 F. Supp. 3d 84, 87 (D.D.C.

2014) (court aided by special masters for assessment of damages); Worley, 75 F. Supp. 3d 311,

338-39 (D.D.C. 2014); Spencer v. Islamic Rep. of Iran, 922 F. Supp. 2d 108, 109 (D.D.C. 2013).

Given the large number of Plaintiffs and the limitations on the Court’s time, in the interests of

judicial economy, a reference to a special master may be appropriate in this case.

       An exemplar order from another case, Kaplan v. Central Bank of the Islamic Rep. of Iran,

et al. (D.D.C. 10-cv-483), appointing a special master to determine damages and outlining the

availability of, and funding for, special masters to determining damages in cases arising under 28

U.S.C. § 1605A, is attached as Ex. 1. If the Court decides to appoint a special master to

determine damages, Plaintiffs have no objection to the appointment of Alan L. Balaran, Esq., the

same special master as was appointed in Kaplan. Attached as Ex. 2 is proposed Administrative

Plan for Appointment of Special Masters that could be used in this case.



                                               -21-
         Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 28 of 30




                                   IV.
               THE COURT SHOULD AWARD PRE-JUDGMENT INTEREST
         Prejudgment interest has been sought by similarly situated Plaintiffs, and awarded by the

Court, in numerous prior cases arising from acts of terrorism. See Reed, 845 F. Supp. 2d at 214-

15 (the Court determined that pre-judgment interest was appropriate on the whole award,

including pain and suffering and solatium, but not punitive damages), see also Opati v. Rep. of

Sudan, 60 F. Supp. 3d 68, 82 (D.D.C. 2014), Estate of Doe v. Islamic Rep. of Iran, 943 F. Supp.

2d 180, 185 (D.D.C. 2013).

         The Doe court further noted that the proper rate is the prime rate:

         In Forman, the leading case to assess prejudgment interest, the D.C. Circuit
         explained that the prime rate—the rate banks charge for short-term unsecured
         loans to creditworthy customers—is the most appropriate measure of prejudgment
         interest, one “more appropriate” than more conservative measures such as the
         Treasury Bill rate, which represents the return on a risk-free loan. See 84 F.3d at
         450 (emphasis omitted). In reaching this conclusion, the D.C. Circuit did not
         expressly consider the best measure of the prime rate, although it approved the
         “district court’s award of prejudgment interest at the prime rate for each year
         between the accident and the entry of judgment.”

Doe, 943 F. Supp. 2d at 184 quoting Forman v Korean Air Lines Co., 84 F3d 446, 450 (D.C. Cir.

1996).

         In this case, the Court should award pre-judgment interest at the prime rate for each year

since the plaintiffs’ injuries. Plaintiffs would be pleased to submit calculations of the interest

amounts if that would assist the Court.

                                          CONCLUSION
         For the reasons set forth above, Plaintiffs respectfully request that this Court grant

Plaintiffs’ motion for a judgment by default and enter judgment in the Plaintiffs’ favor in the




                                                 -22-
         Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 29 of 30




amounts set forth in the proposed Findings of Fact and Conclusions of Law which Plaintiffs will

be submitting in this case.

Dated:    Brooklyn, New York
          March 7, 2022
                                            Respectfully submitted,

                                            THE BERKMAN LAW OFFICE, LLC
                                            Attorneys for Plaintiffs


                                            By:
                                                 Robert J. Tolchin
                                            111 Livingston Street, Suite 1928
                                            Brooklyn, New York 11201
                                            718-855-3627




                                             -23-
       Case 1:18-cv-03150-RCL Document 44-1 Filed 03/07/22 Page 30 of 30




                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on the date indicated below a true copy of the

foregoing was served via ECF on all counsel of record herein.

Dated: Brooklyn, New York
       March 7, 2022

                                            _______________________
                                            Robert J. Tolchin




                                             -24-
